       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 1 of 9




                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 TWIN CITY FIRE INSURANCE
 COMPANY, HARTFORD
 INSURANCE COMPANY OF THE
 MIDWEST, HARTFORD
 CASUALTY INSURANCE                         CASE NO: ________________
 COMPANY, PROPERTY AND
 CASUALTY INSURANCE
 COMPANY OF HARTFORD,
 HARTFORD ACCIDENT AND
 INDEMNITY COMPANY,
 SENTINEL INSURANCE
 COMPANY, LTD, TRUMBULL
 INSURANCE COMPANY,
 HARTFORD FIRE INSURANCE
 COMPANY and HARTFORD
 UNDERWRITERS INSURANCE
 COMPANY,

        Plaintiffs,

 v.

 ASK STAFFING, INC.,

        Defendant.


      PLAINTIFFS’ COMPLAINT FOR BREACH OF CONTRACT AND
                       ACCOUNT STATED

       Plaintiffs Twin City fire Insurance Company, Hartford Insurance Company of

the Midwest, Hartford Casualty Insurance Company, Property and Casualty

                                        1
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 2 of 9




Insurance Company of Hartford, Hartford Accident and Indemnity Company,

Sentinel Insurance Company, Ltd., Trumbull Insurance Company, Hartford Fire

Insurance Company and Hartford Underwriters Insurance Company, by and through

their undersigned attorneys, as and for their Complaint against Defendant, Ask

Staffing, Inc., allege as follows:

                                 NATURE OF ACTION

      1.     This is an action for breach of contract to recover money damages based

upon Defendant’s failure to pay the full premiums owed under certain insurance

policies issued by Plaintiffs.

                                     PARTIES

      2.     Plaintiffs Twin City Fire Insurance Company, Hartford Insurance

Company of the Midwest, Hartford Casualty Insurance Company, and Property and

Casualty Insurance Company of Hartford are each Indiana corporations. Plaintiffs

Hartford Accident and Indemnity Company, Sentinel Insurance Company, Ltd.,

Trumbull Insurance Company, Hartford Fire Insurance Company, and Hartford

Underwriters Insurance Company are each Connecticut corporations (collectively,

“Plaintiffs” or “The Hartford”). All Plaintiffs maintain their principal place of

business at One Hartford Plaza, Hartford, Connecticut 06155.




                                         2
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 3 of 9




      3.      Defendant ASK Staffing, Inc. (“Defendant”) is a Georgia corporation

which maintains its principal place of business at 6495 Shiloh Road, Suite 300

Alpharetta, Georgia 30005.

                          JURISDICTION AND VENUE

      4.      This Court has jurisdiction over this action under 28 U.S.C. §

1332(a)(1) because it involves citizens of different states and an amount in

controversy exceeding the sum of $75,000.00, exclusive of interest and costs.

      5.      Venue of this action in the Northern District of Georgia is proper under

28 U.S.C. § 1391(b) in that it is the District where Defendant resides and where a

substantial part of the events giving rise to this action occurred.

                             BACKGROUND FACTS

      6.      At the request of Defendant, The Hartford issued the following

insurance policies:

       Workers Compensation Insurance Policy No. 20-WEAR-8947 for the

           period of 6/19/2019 to 6/19/2020 (“Policy 1”), and for the period of

           6/19/2020 to 6/19/2021 (“Policy 2”);

       Third Party Crime Policy No. 20-TP-0291123 for the period of 6/19/2021

           to 6/19/2022, which was cancelled on 9/12/2021 (“Policy 3”); and



                                           3
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 4 of 9




       Third Party Crime Policy No. 20-TP-0291124 for the period of 6/19/2020

            to 6/19/2021, which was cancelled on 9/12/2021 (“Policy 4”) (collectively

            the “Policies”).

      7.       Pursuant to the Policies, Defendant agreed to pay certain premiums to

The Hartford.

      8.       The premiums under the Workers Compensation Policies (Policies 1

and 2) were initially estimated based upon the information supplied by Defendant

and expressly subject to adjustment after an audit of Defendant’s applicable books

and records at the conclusion of the policy periods.

      9.       The premiums under the Third Party Crime Policies were in a fixed

amount and not subject to adjustment.

      10.      At the end of the respective policy periods, The Hartford conducted

audits pursuant to which it was determined that Defendant owed additional

premiums under Policy 1 in the amount of $66,221.00, and additional premiums

under Policy 2 in the amount of $87,011.00.

      11.      Defendant also owed unpaid fixed premiums under the Third Party

Crime Policies in the sum of $1,597.91 for Policy 3, and the sum of $1,705.09 for

Policy 4.

      12.      In addition Defendant also owed $65.00 in previously billed fees.

                                           4
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 5 of 9




      13.     Hence, the total unpaid premiums owed by Defendant under the four

Policies in addition to the previously billed fees equals $156,600.00 (the “Unpaid

Premiums”).

      14.     On or about March 28, 2022, The Hartford sent to Defendant a final

insurance bill for the Unpaid Premiums owed under the Policies (the “Final

Insurance Bill”), no part of which has been paid. A true and correct copy of the

Final Insurance Bill is annexed hereto as Exhibit A.

                                 COUNT I
                            BREACH OF CONTRACT

      15.     The Hartford hereby realleges and incorporates by reference each of the

allegations set forth above in paragraphs 1 to 14 as if fully set forth herein.

      16.     Defendant has wrongfully refused to pay the Unpaid Premiums due

under the Policies.

      17.     The Hartford has fully complied with all of its obligations under the

Policies.

      18.     Defendant breached the terms and conditions of the Policies by failing

to pay the Unpaid Premiums as invoiced.

      19.     As a result of Defendant’s breach of the Policies, The Hartford has been

damaged in the sum of $156,600.00 (excluding interest, fees and costs).


                                           5
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 6 of 9




                                  COUNT II
                               ACCOUNT STATED

      20.     The Hartford hereby realleges and incorporates by reference each of the

allegations set forth above in paragraphs 1 to 19 as if fully set forth herein.

      21.     The amount of Unpaid Premiums owed to Plaintiffs pursuant to the

Polices is $156,600.00.

      22.     The Final Insurance Bill sent to Defendant (Exhibit A) created an

express and implied agreement between the parties as to the amount of the Unpaid

Premiums due under the Policies.

      23.     Defendant received and retained the Final Insurance Bill and did not,

contemporaneously or reasonably thereafter, object to or dispute the amounts or

charges contained therein and thereby accepted the Final Insurance Bill.

      24.     Defendant has wrongfully failed to pay the Unpaid Premiums as

invoiced despite The Hartford’s demands for payment.

      25.     As a result of Defendant’s failure to pay the amounts due as invoiced,

The Hartford has been damaged in the sum of $156,600.00 (excluding interest, fees

and costs).




                                           6
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 7 of 9




                             COUNT III
                 UNJUST ENRICHMENT/QUANTUM MERIT

      26.    The Hartford hereby realleges and incorporates by reference each of the

allegations set forth above in paragraphs 1 to 25 as if fully set forth herein.

      27.     The Policies provided Defendant with insurance coverage for the

benefit of the company and its employees.

      28.    Accordingly, as a matter of equity, Defendant should be held liable for

the Unpaid Premiums owed under the Policies since Defendant directly benefited

from the insurance coverage provided by The Hartford.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs, Twin City fire Insurance Company, Hartford

Insurance Company of the Midwest, Hartford Casualty Insurance Company,

Property and Casualty Insurance Company of Hartford, Hartford Accident and

Indemnity Company, Sentinel Insurance Company, Ltd., Trumbull Insurance

Company, Hartford Fire Insurance Company, and Hartford Underwriters Insurance

Company, hereby demand that a judgment be entered against Defendant ASK

Staffing, Inc., in the sum certain of $156,600.00, together with pre- and post-

judgment interest thereon at the statutory rate of 11% per annum, and an award of

the costs incurred herein, and such other, further and different relief as the Court

may deem just and proper.
                                           7
     Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 8 of 9




    Respectfully submitted this 24th day of July, 2023.

                                           WILSON ELSER MOSKOVITZ
                                           EDELMAN & DICKER LLP


3348 Peachtree Road NE                     /s/ Lawrence Lee Washburn IV
Suite 1400                                 Lawrence Lee Washburn IV
Atlanta, Georgia 30326                     Georgia Bar No.: 562374
Main: (470) 419-6650                       Alex F. Resnak
Fax: (470) 419-6651                        Georgia Bar No. 149633
lee.washburn@wilsonelser.com
alex.resnak@wilsonelser.com                Counsel for Defendant




                                       8
       Case 1:23-mi-99999-UNA Document 2344 Filed 07/24/23 Page 9 of 9




    CERTIFICATE OF COMPLIANCE WITH TYPE REQUIREMENTS

       The undersigned hereby certifies that the foregoing pleading complies with

the font and point selections approved by the Court in Local Rule 5.1(c). This filing

has been prepared using size 14 Times New Roman font.

                                              WILSON ELSER MOSKOWITZ
                                              EDELMAN & DICKER, LLP

                                              /s/ Lawrence Lee Washburn IV
                                              Lawrence Lee Washburn IV
                                              Georgia Bar No.: 562374

                                              Counsel for Defendant




                                          9
